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      16     (formerly known as Facebook, Inc.)

      17
                                          UNITED STATES DISTRICT COURT
      18
                                       NORTHERN DISTRICT OF CALIFORNIA
      19
                                                    SAN JOSE DIVISION
      20
            MAXIMILIAN KLEIN, et al., on behalf of               Case No. 5:20-cv-08570-JD
      21    themselves and all others similarly situated,
      22                                                         DECLARATION OF JITIN KHURANA
                                             Plaintiffs,         IN SUPPORT OF DEFENDANT’S
      23            v.                                           RESPONSE TO PLAINTIFFS’
                                                                 ADMINISTRATIVE MOTION TO
      24    META PLATFORMS, INC., a Delaware                     CONSIDER WHETHER ANOTHER
            Corporation,                                         PARTY’S MATERIAL SHOULD BE
      25
                                                                 SEALED
                                             Defendant.
      26
                                                                 Judge: Hon. James Donato
      27

      28

            No. 5:20-cv-08570-JD                             KHURANA DECL. ISO DEFENDANT’S CIVIL L. R. 79-
                                                                                       5(F)(3) RESPONSE
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       1            I, Jitin Khurana, declare as follows:

       2            1.       I am Head of Business Development, Ads and Platform, at Meta Platforms, Inc
       3
            (“Meta”). I have been employed by Meta since January 2020 and I have held my current position
       4
            since that date. Over the course of my employment at Meta, I have acquired personal knowledge
       5
            of Meta’s practices and procedures concerning the maintenance of the confidentiality of its
       6
            strategic and business information.
       7

       8            2.       I submit this declaration in support of Meta Platforms, Inc.’s Response to Plaintiffs’

       9    Administrative Motion to Consider Whether Another Party’s Material Should be Sealed, Dkt. 236.
      10            3.       The contents of this declaration are true and correct to the best of my knowledge,
      11
            information, and belief, and are based on my personal knowledge of Meta’s policies and practices
      12
            as they relate to the treatment of confidential information, the materials that were provided to me
      13
            and reviewed by me, and/or informed conversations with other knowledgeable employees of Meta.
      14

      15    If called upon as a witness in this action, I could and would testify competently to the matters

      16    discussed in this declaration.

      17            4.       Meta requires confidential treatment of all confidential commercial proposals to
      18    third parties and confidential agreements with third parties; and internal, future strategic business
      19
            plans. Third parties in an array of contexts entrust confidential information to Meta and they have
      20
            an expectation that Meta has sufficient controls and processes in place to maintain and protect the
      21
            confidentiality of that information. In my experience and to the best of my knowledge, Meta does
      22

      23    not disclose internal documents or confidential agreements or proposals of this nature outside of

      24    the company.

      25                                  SPECIFIC INFORMATION TO BE SEALED
      26
                    5.       To the best of my knowledge, the following information in the FAC and Redline is
      27
            confidential, and derives from confidential materials Meta produced in response to document
      28

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                                                                                       79-5(F)(3) RESPONSE
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       1    requests or to civil investigative demands. Disclosure of the material will harm Meta’s ability to

       2    negotiate deals with its business partners, for the reasons explained below.
       3
                    6.       Details of negotiations leading to the agreement described in Paragraphs 441-
       4
            452, 454, 455, 458-461 and 463 of the FAC. These parts of the FAC and Redline contain non-
       5
            public information regarding the negotiation of a confidential agreement with a counterparty
       6
            concerning Meta’s non-use of certain data. This information has never been disclosed publicly,
       7

       8    and disclosure would severely and adversely impact Meta’s ability to negotiate similar agreements

       9    in the future. If revealed to competitors and potential business counterparties, those companies
      10    would use this non-public and confidential information to disadvantage Meta in future
      11
            negotiations. For example, the redacted portions of the complaint describe certain confidential
      12
            information that Meta provided to the counterparty during the course of negotiations. If disclosed,
      13
            other counterparties would demand similar information during negotiations, threatening Meta’s
      14

      15    ability to maintain the confidentiality of sensitive internal information. And, the details of the

      16    negotiations will shed light on the goals and terms of the ultimate agreement reached, which if

      17    disclosed, as I explain below, would also cause competitive harm to Meta.
      18            7.       Goals and terms of the agreement described in the Table of Contents and
      19
            Paragraphs 10, 436-438, and 464-472 of the FAC. These parts of the FAC and Redline contain
      20
            non-public information regarding the terms of a confidential agreement with a counterparty
      21
            concerning Meta’s non-use of certain data. This information has never been disclosed publicly,
      22

      23    and disclosure would severely and adversely impact Meta’s ability to negotiate agreements in the

      24    future. If revealed to competitors and potential business counterparties, those companies would

      25    use this non-public and confidential information to disadvantage Meta and/or the counterparty in
      26
            negotiations. For example, if disclosed, a competitor of the counterparty would become aware of
      27
            the details of the counterparty’s agreement (e.g., particular terms that Meta had agreed to in the
      28

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       1    past), and it could use this as leverage in business negotiations to the detriment of Meta and/or its

       2    business counterparty.
       3
                    8.       Goals and terms of the agreements described in Paragraphs 9, 500-502, 509-
       4
            524, 530, 531, 534, and 535 of the FAC. These parts of the FAC and Redline contain non-public
       5
            information regarding the terms of a series of confidential agreements with a counterparty
       6
            concerning Meta’s use of particular data to inform content development decisions, including
       7

       8    information about the particular data at issue and internal testing related to particular deal terms.

       9    This information has never been disclosed publicly, and disclosure would severely and adversely
      10    impact Meta’s ability to negotiate agreements in the future. If revealed to competitors and potential
      11
            business counterparties, those companies could use this non-public and confidential information
      12
            to disadvantage Meta and/or the counterparty in negotiations. For example, if disclosed, a
      13
            competitor of the counterparty would become aware of the details of the counterparty’s agreement
      14

      15    (e.g., particular terms that Meta had agreed to in the past), and it could use this as leverage in

      16    business negotiations to the detriment of Meta and/or its business counterparty.

      17            9.       Information about ad spend by certain advertisers described in Paragraphs
      18    440, 456, 463, 485, 486, and 503 of the FAC. These parts of the FAC and Redline contain non-
      19
            public information regarding advertising sales to individual advertisers. This information is
      20
            considered very sensitive–even within Meta, information about total ad sales is generally disclosed
      21
            only to teams with direct responsibility for those sales. It is not disclosed publicly. If revealed to
      22

      23    Meta’s competitors, those competitors could use this information to Meta’s disadvantage. For

      24    example, if another company that sells advertising knew how much a company spent on

      25    advertising from Meta in a given year, it could more effectively seek to divert those ad sales to its
      26
            own advertising products.
      27
                    I declare under penalty of perjury that the foregoing is true and correct.
      28

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                                                                                       5(F)(3) RESPONSE
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       1    Executed on this 7th day of March 2022 in Fremont, California.

       2

       3
                                                              By:
       4                                                             Jitin Khurana
                                                                     Head of Business Development,
       5
                                                                     Ads and Platform
       6                                                             Meta Platforms, Inc

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